                                                                                               Electronically Filed - St Louis County - October 20, 2020 - 02:44 PM
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                                                                            20SL-CC05288
                                                                                 EXHIBIT A
STATE OF MISSOURI                              )
                                               ) SS.
COUNTY OF SAINT LOUIS                          )

                IN THE CIRCUIT COURT OF THE COUNTY OF SAINT LOUIS
                                STATE OF MISSOURI

LOISTINE HOSKIN                                )
                                               )
        Plaintiff,                             )   Cause #: 20SL-CC____
                                               )
vs.                                            )   Division No.: _______
                                               )
CRACKER BARREL OLD COUNTRY                     )
STORE, INC.,                                   )
                                               )
Serve: C T Corporation System                  )
       120 South Central Avenue,               )
       Clayton, MO 63105                       )   Personal Injury
                                               )   In Excess of $25,000.00
        Defendant.                             )   PLAINTIFF DEMANDS TRIAL BY JURY


                                   PLAINTIFF'S PETITION

        COMES NOW, Plaintiff Loistine Hoskin, by and through her undersigned counsel, J.

Justin Meehan, Attorney at Law, and for her cause of action against Defendant Cracker

Barrel Old Country Store, Inc., hereby states and alleges as follows:

                                     Count I. ​PARTIES

1.      Plaintiff Loistine Hoskin is an individual and a 69 year-old resident of Saint Louis

County, State of Missouri.
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2.       That at all material times herein, Defendant Cracker Barrel Old Country Store, Inc.

(“Cracker Barrel”) is a foreign corporation, duly authorized and existing under law that

owned, maintained and/or controlled a restaurant, located at 10915 New Halls Ferry Road,

Saint Louis County, State of Missouri.


                           Count II. ​JURISDICTION AND VENUE


3.       That venue is proper in this Court under RSMo 508.010.4 in that the acts complained of

occurred in Saint Louis County, State of Missouri.


4.       Jurisdiction is proper in this Court as the negligent acts complained of herein occurred

within the State of Missouri.


                            Count III. ​GENERAL ALLEGATIONS


5.       That on or about December 18, 2019 Loistine Hoskin was a customer/invitee at the

Cracker Barrel restaurant located at 10915 New Halls Ferry Road, Saint Louis County, State of

Missouri.


6.       That at the aforesaid date and location Defendant owned, maintained and controlled a

sloping walkway for customers to walk to and from it’s restaurant to the customer parking lot.


7.       That at all times herein mentioned the walkway had become iced and slippery as a result

of prior weather conditions.
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8.       That at the aforesaid date and location Plaintiff Loistine Hoskins was a store

customer/invitee and was leaving after her purchases at about 5:25 pm to return to her vehicle

along the aforesaid walkway which had become iced and slippery.


9.       That as a result of slippery snow and ice on said walkway plaintiff was caused to slip and

fall thereby seriously injuring herself.


       Count IV. ​CAUSE OF ACTION AGAINST DEFENDANT CRACKER BARREL


10.      Defendant owed a duty of reasonable care to protect customers/invitees like Loistine

Hoskin against known dangers and those that would be revealed by proper inspection.


11.      That the defendant knew or should have known of the dangerous icy condition on said

walkway, which posed a danger to its customers, including Loistine Hoskin.


12.      That the aforesaid incident occurred as a result of and was proximately caused by the

negligence and carelessness of the Defendant in one or more of the following respects as set out

hereunder:

         (a) Failing to properly inspect and maintain the customer walkway free from snowy icy

         patches which posed a danger to customers;

         (b) Failing to maintain the customer walkway in a safe condition;

         (c) Failing to spread rock salt or other ice remover on the walkway; and
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       (d) Failing to block off or warn its customers, including Plaintiff, of the dangerous icy

       condition of the walkway.


13.    That as a direct and proximate result of the negligence and carelessness of the Defendant,

as aforesaid, Plaintiff's head; neck; right side, low back and hip; right shoulder, arm, elbow (with

ulnar neuropathy) ; right hand and right wrist (carpal tunnel), requiring a splint; and all the

muscles, bones, cartilage, ligaments, tendons, tissues, nerves, blood vessels, membranes and all

the parts and structures thereof were seriously bruised, contused, swollen, aggravated, ruptured,

mashed, wrenched, narrowed, compressed, subluxed, abraded, dislocated, strained, sprained, and


rendered still, sore and painful; that Loistine Hoskin has suffered damage to her entire nervous

system which has been severely shocked and deranged and that Plaintiff has suffered, currently

suffers and will in the future continue to suffer great physical pain, right hand weakness and

strength and mental anguish.


14. That as a direct and proximate result of the said occurrence and injuries sustained by Loistine

Hoskin she has been caused to incur medical expenses for the medicine, doctors, x-rays, medical

institutions, medical procedures, and prescription, and will in the future be required to expend

further sums, the exact amount of which cannot be definitely ascertained at this time.
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       WHEREFORE, Plaintiff, Loistine Hoskin, prays judgment for damages against

Defendant, Cracker Barrel Old Country Store, Inc., in an amount that is fair and just, together

with Plaintiff's costs herein expended, plus interest, exceeding the $25,000 jurisdictional limit.




                                                      Respectfully submitted,

                                                      /s/ J. Justin Meehan     ​.
                                                      J. JUSTIN MEEHAN, #24844
                                                      Attorney for Plaintiff
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